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NOTICE OF APPEARANCE IN A CRIMINAL CASE

CLERK’S OFFICE
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
WASHINGTON, D.C. 20001

UNITED STATES OF AMERICA

vs. Criminal Number 1-21-CR-312-JEB

Bradley Stuart Bennett
(Defendant)

 

TO: © ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT | APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.

| AM APPEARING IN THIS ACTION AS: — (Please check one)

FEDERAL PUBLIC DEFENDER

CJA RETAINED

  

 

7 J ERE

PLEASE PRINT THE FOLLOWING INFORMATION:

Stacey D. Rubain, NC - 26690

(Attorney & Bar ID Number)

Federal Public Defender - Middle District of NC
(Firm Name)

301 N. Elm Street, Suite 410

(Street Address)

Greensboro, NC 27401
(City) (State) (Zip)

(336) 333-5455

(Telephone Number)

 

 

 

 

 
